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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 16-22254-CIV-GAYLES/McAliley

  CARMEN RINCON and CARLOS RINCON,
  as Personal Representatives of the Estate of
  ETHAN RINCON, deceased,

         Plaintiffs,
  v.

  MIAMI-DADE COUNTY, et al.,

        Defendants.
  _______________________________________/

   DEFENDANTS’ PARTIAL OBJECTIONS TO REPORT AND RECOMMENDATIONS

         Defendants, Sergeant Victor Evans, Officer John Dalton, and Officer Brian Zamorski

  (collectively, the “Officers”), object in part to the Magistrate Judge’s Report and Recommendation

  on Motion to Dismiss (“R&R”) [ECF No. 111]. Specifically, although the R&R recommends

  dismissal of nearly all of the claims in Plaintiffs’ Fourth Amended Complaint [ECF No. 96], the

  R&R errs in concluding the Officers are not entitled to qualified immunity with respect to

  Plaintiffs’ claim for excessive force (Count II). The R&R likewise errs in concluding Plaintiffs

  have stated a claim for wrongful death against the Officers under state law (Count V).

         For the reasons below, the portions of the R&R which recommend denying Defendants’

  Motion to Dismiss [ECF No. 99] as to Counts II and V of the Fourth Amended Complaint are

  clearly erroneous or contrary to law and should be set aside.

                                         INTRODUCTION

         This case stems from a March 22, 2016 encounter during which Sergeant Evans, Officer

  Dalton, and Officer Zamorski—having responded to various 911 calls about a subject vandalizing

  cars in a residential neighborhood with a weapon—came upon Ethan Rincon wielding a pickaxe
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  inside his home and, in response to the immediate and deadly threat posed by Ethan, discharged

  their own firearms. Moreover, just before the Officers entered the house and encountered the

  pickaxe-wielding Ethan, they learned from Ethan’s parents—Plaintiffs Carmen and Carlos

  Rincon—that Ethan’s parents were attempting to have Ethan involuntarily committed because he

  had been behaving in an emotionally unstable manner over the previous forty-eight hours. Only

  the three officers entered the residence at the time of the shooting; Plaintiffs remained outside the

  house throughout the incident, and had not been with Ethan in the hours prior to the incident.

         Despite not witnessing the shooting, Plaintiffs allege the Officers used excessive force in

  shooting Ethan, along with a host of other claims. The Fourth Amended Complaint asserts seven

  claims. The R&R recommends dismissal of all but two: Count II, for excessive force pursuant to

  42 U.S.C. § 1983, and Count V, a state law wrongful death claim, all against Sergeant Evans,

  Officer Dalton, and Officer Zamorski. The R&R finds the Officers are not entitled to qualified

  immunity with respect to Count II, and finds Plaintiffs have stated a claim with respect to Count

  V. These recommendations err because they (1) misapply Eleventh Circuit case law regarding

  qualified immunity and (2) improperly credit speculative or conclusory allegations for which

  Plaintiffs have no basis in fact. Counts II and V, along with the rest of Plaintiffs’ claims, should

  be dismissed.

                                          MEMORANDUM

         The circumstances and events an officer faced “must be judged from the perspective of a

  reasonable officer on the scene, rather than with the 20/20 vision of hindsight.” Manners v.

  Canella, 891 F.3d 959, 973 (11th Cir. 2018) (quoting Graham v. Connor, 490 U.S. 386, 396

  (1989)). In recommending that Count II, for excessive force, and Count V, for wrongful death, be




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  permitted to proceed, the R&R not only erroneously credits allegations that are not well-pled, but

  also fails to properly apply recent Eleventh Circuit case law regarding qualified immunity.

  I.     The Officers Are Entitled to Qualified Immunity on Plaintiffs’ Excessive Force Claim
         in Count II

         Plaintiffs cannot state a claim for excessive force against the Officers in Count II because

  they are entitled to qualified immunity. As the R&R notes, it is Plaintiffs’ burden to overcome the

  Officers’ entitlement to qualified immunity. Here, Plaintiffs cannot show that the Officers’ conduct

  violated the Fourth Amendment because the Officers were forced to make a split-second decision

  to use force when they confronted Ethan holding a pickaxe inside the house. Under these

  circumstances, the use of force was objectively reasonable, so, as a matter of law, the Officers are

  entitled to qualified immunity because their use of force did not violate Ethan’s constitutional

  rights. The Officers are also entitled to qualified immunity because they violated no clearly

  established right.

         In concluding that the Officers are not entitled to qualified immunity, the R&R improperly

  credits speculative allegations for which Plaintiffs, who were not inside the residence at the time

  of the shooting, could not possibly have a basis of knowledge. See R&R at 16-17 (declining to

  follow Prosper v. Martin, No. 17-20323-CIV, 2018 WL 3084062 (S.D. Fla. June 21, 2018), where

  the court rejected deficient allegations that were not “supported by a factual basis establishing the

  plaintiff’s knowledge of the event as described”). For example, the R&R credits Plaintiffs’

  speculative allegation that Ethan was home alone (see R&R at 2), despite the fact that Plaintiffs

  (1) were not home preceding this incident, (2) were not together preceding this incident as they

  arrived separately on scene, and (3) arrived after the Officers did (see Fourth Am. Compl. ¶ 21).

  The R&R likewise credits Plaintiffs’ conclusory allegation that “Ethan could not have wielded the




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  pickaxe in any menacing way” (R&R at 16 (quoting Fourth Am. Compl. ¶ 50)), despite the fact

  that, again, Plaintiffs have no basis of knowledge for this allegation.

          The R&R also, in coming to its erroneous conclusion regarding qualified immunity here,

  misapplies the holding of Perez v. Suszczynski, 809 F.3d 1213, 1220 (11th Cir. 2016). The

  Magistrate Judge cites Perez for its holding that “the mere presence of a gun or other weapon is

  not enough to warrant the exercise of deadly force and shield an officer from suit.” R&R at 16

  (citing Perez, 809 F.3d at 1220). But the R&R fails to acknowledge that, in Perez, record evidence

  indicated the plaintiff was no longer in possession of his weapon at the time of the shooting. See

  Perez, 809 F.3d at 1220-21 (“Here, witnesses testified that Arango’s handgun had been removed

  from his person when he was shot. The use of lethal force under such circumstances—after any

  potential threat had been neutralized—is objectively unnecessary and disproportionate.”).

          In stark contrast to Perez, there is absolutely no allegation here that Ethan was not holding

  his pickaxe at the time the Officers discharged their weapons—a fact the Magistrate Judge

  explicitly recognized. See R&R at 16 (“It is true, as Defendants point out, that Plaintiffs do not

  expressly deny that Ethan was holding a pickaxe when shot.”). The only allegation regarding

  Ethan’s weapon is Plaintiffs’ conclusory, baseless allegation that “Ethan could not have wielded

  the pickaxe in any menacing way.” R&R at 16 (quoting Fourth Am. Compl. ¶ 50). The R&R fails

  to account for this material difference between Perez and the circumstances here, and in doing so,

  misapplies Perez to support a denial of the Officers’ entitlement to qualified immunity.

          Finally, the R&R misapplies the Eleventh Circuit’s recent holding in Shaw v. City of Selma,

  884 F.3d 1093 (11th Cir. 2018), which weighs heavily in favor of granting qualified immunity

  here. Specifically, the R&R erroneously concludes that Plaintiffs’ allegation indicating “at least

  five to six feet separated Ethan . . . and the officers . . . raise[s] the reasonable inference that the



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  MDPD Officers were not in grave danger.” R&R at 14-15 (emphasis added). This conclusion

  cannot be squared with Shaw.

         The Magistrate Judge’s “reasonable inference” that the Officers were not in grave danger

  because Ethan was “at least five to six feet” away is directly at odds with the holding in Shaw. In

  Shaw, the Eleventh Circuit held that a police officer did not use excessive force when he shot a

  74-year-old man who wielded a hatchet, despite (1) its assumption as true that the man did not

  raise the hatchet at the time the officer fired and (2) that the man was “a few feet” away from the

  officer at the time the officer discharged his weapon. Shaw, 884 F.3d at 1100.

         Moreover, the R&R also ignores salient points in Shaw that actually cut in favor of

  qualified immunity here. The incident in Shaw involved an elderly, 74-year old man, who had at

  first “slowly walk[ed] away” from the officers. Id. at 1097. The incident there took place almost

  entirely outside, in the broad daylight of afternoon, over the course of two minutes. Id. Here, by

  contrast, the Officers were suddenly and unexpectedly faced with the immediate threat of a 21-

  year old wielding a pickaxe in a dark, unfamiliar, confined interior space. The Shaw officers had

  much more room to tactically maneuver, on public streets in broad daylight, than the Officers here

  had standing in a perpendicular dead-end of narrow residential hallways at night. Shaw

  underscores what the Eleventh Circuit has made exceedingly clear for over a decade: “the law does

  not require officers in a tense and dangerous situation to wait until the moment a suspect uses a

  deadly weapon to act to stop the suspect.” Long v. Slaton, 508 F.3d 576, 581 (11th Cir. 2007).

         Finally, it seems both Plaintiffs and the Magistrate Judge overstate the “obstruction” of

  Ethan’s bedroom door. Even crediting Plaintiffs’ allegation that “the bedroom door opened only

  approximately 70 degrees” (Fourth Am. Compl. ¶ 50), that still represents nearly 80 percent of the

  total aperture. In other words, the door—even “obstructed”—could, by Plaintiffs’ own admission,



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  open practically all the way. A door that opens 70 degrees (when most interior doors open a

  maximum of 90) offers essentially no impediment to a person passing through it. This is not

  “evidence-weighing.” R&R at 16 n.7. This is math, with a dash of common sense.

           All this is to say: if the Eleventh Circuit found the force in Shaw did not violate clearly

  established Fourth Amendment law, it is clear that here, given the tense, uncertain, and rapidly

  evolving circumstances presented to the Officers, Plaintiffs fall far short of establishing a

  constitutional violation, much less overcoming the Officers’ entitlement to qualified immunity.

  II.      Count V Fails to State a Claim

           As noted by Defendants in their Motion to Dismiss as well as the Magistrate Judge in the

  R&R, Count V cannot state a claim against the Officers for wrongful death under Florida law if

  the force used was reasonable under the circumstances. In other words, if a court finds that a use

  of deadly force is objectively reasonable under the Fourth Amendment, no further analysis of the

  use of force under state law is necessary. See Davis v. Williams, 451 F.3d 759, 768 (11th Cir.

  2006).

           Under the circumstances presented to the Officers, there can be no question that the

  Officers’ belief—that deadly force was necessary to defend themselves from serious bodily

  harm—was reasonable and justified. For the same reasons that Count II fails, Count V likewise

  fails, and should be dismissed.

                                            CONCLUSION

           For the foregoing reasons, Defendants respectfully request that this Court reject the

  portions of Magistrate Judge’s Report and Recommendation on Motion to Dismiss [ECF No. 111]

  which recommend denying the relief sought in Defendants’ Motion to Dismiss [ECF No. 99].




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  Dated: May 14, 2020                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 14, 2020, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record via CM/ECF.

                                                        s/ Anita Viciana
                                                        Assistant County Attorney




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